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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.,                     *             CIVIL ACTION NO. 2:19-cv-14765
                                            *
                           Plaintiff,       *             SECTION “D”
                                            *
       VERSUS                               *             DIVISION “3”
                                            *
M/V BOUCHARD GIRLS, her tackle, furniture, *              JUDGE WENDY B. VITTER
apparel, appurtenances, etc. in rem & BOU-  *
CHARD TRANSPORTATION CO., INC.              *             MAGISTRATE DANA DOUGLAS
in personam                                 *
                                            *
                                            *
                           Defendant.       *
                                            *
*********************************************

                 EX PARTE MOTION TO SUPPLEMENT THE RECORD

        The ex parte motion to supplement the record (the “Motion”) of intervening plaintiff, Wells

Fargo Bank, N.A. (“Wells Fargo”), appearing herein through undersigned counsel, respectfully

represents:

        1.     On April 20, 2020, this Honorable Court granted Wells Fargo’s motion to intervene

in the captioned case (the “Motion to Intervene”) and its related request that it be allowed to file

into the record of the captioned case the proposed Verified Complaint In Intervention by Wells

Fargo Bank, N.A. (the “Complaint”) that accompanied the Motion to Intervene.

        2.     Wells Fargo’s Motion to Intervene also contemplated that all of the exhibits specif-

ically referenced in the proposed Complaint as being attached thereto would be filed together with

the Complaint upon this Honorable Court’s granting the Motion to Intervene. As explained in the

Motion to Intervene, Wells Fargo did not attach those exhibits to the proposed Complaint that

accompanied the Motion to Intervene because of their volume.




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        3.     Upon entry of the Order granting the Motion to Intervene, the proposed Complaint

was automatically filed into the record on April 20, 2020, as docket entry number 41, without the

accompanying exhibits that are referenced in the Complaint as being attached thereto, although

the Motion to Intervene contemplated that the exhibits would be filed simultaneously with the

Complaint.

        4.     As such, Wells Fargo requests that this Honorable Court grant this Motion so as to

permit Wells Fargo to supplement the record of this case with exhibits to the Complaint that was

filed into the record on April 20, 2020 [Doc. No. 41], copies of which accompany this Motion.

        WHEREFORE, Wells Fargo respectfully requests that this Court permit it to supplement

the record with the accompanying exhibits so that the Clerk of this Court may append those ex-

hibits to the previously-filed Complaint [Doc. No. 41], and grant such further and other relief as is

just and equitable.

                                              Respectfully submitted,

                                              /s/ Richard A. Aguilar
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                                              ATTORNEYS FOR INTERVENOR,
                                              WELLS FARGO BANK, N.A.




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                              CERTIFICATE OF CONFERENCE

        I hereby certify that I do not believe an additional Certificate of Counsel is necessary with

respect to the aforementioned Ex Parte Motion To Supplement The Record because (a) counsel for

all of the parties in this case had previously consented to Wells Fargo’s Motion to Intervene in the

captioned case (the “Motion to Intervene”) and its related request that it be allowed to file into

the record of the captioned case the Verified Complaint In Intervention By Wells Fargo Bank, N.A.

[Doc. No. 41] (the “Complaint”), and (b) the Motion to Intervene and the Complaint contemplate

that the exhibits to the Complaint would be filed simultaneously with the Complaint upon this

Honorable Court’s entry of its Order granting the Motion to Intervene [Doc. No. 41].

                                              /s/ Richard A. Aguilar
                                              RICHARD A. AGUILAR



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was e-filed with

the Clerk of the Court and electronically served on all counsel of record via the Court’ s ECF E-

Filing Service System on this 21st day of April, 2020.

                                              /s/ Richard A. Aguilar




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